                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


POSCO Energy Co., Ltd. f/k/a POSCO Power,
                               Plaintiff,
                                                           Case No.: 1 :20-cv-07509-MKV
               V.

FuelCell Energy, Inc.,
                               Defendant.


            STIPULATION OF VOLUNTARY DISMISSAL OF ALL CLAIMS WITH
                               PREJUDICE

       Plaintiff POSCO Energy Co., Ltd. and defendant FuelCell Energy, Inc. stipulate and agree

that this action and all claims asserted herein are dismissed pursuant to Federal Rule of Civil

Procedure 41 ( a)(l )(A)(ii) with prejudice, with each party bearing its own attorneys' fees and costs.


Dated: January 5, 2022
New York, New York

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 By:--------------                                      By. ~            -------
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